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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:08CR3177
     vs.
                                                 MEMORANDUM AND ORDER
JOHN HENRY SUTTON,
                  Defendants.


     IT IS ORDERED:

     1)    The defendant’s motion, (filing no. 248), is hereby granted.

     2)    The custody of John Henry Sutton shall be temporarily transferred by 9:30
           a.m. on February 7, 2013, to staff at the Federal Public Defenders Office
           for the purpose of transporting the defendant to a screening interview for
           residential substance abuse treatment at Williams Prepared Place, Omaha,
           Nebraska.

     3)    The Defendant is not permitted to travel to any location other than Williams
           Prepared Place, and will be returned to the U.S. Marshal’s Office
           immediately following the interview.

     January 31, 2013.

                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
